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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

ACA INTERNATIONAL,

                Plaintiff,
                                                      Civil Action No. 1:20-cv-10767-RGS
       v.

MAURA HEALEY, IN HER OFFICIAL
CAPACITY AS MASSACHUSETTS
ATTORNEY GENERAL

                Defendant.



      PLAINTIFF’S UNOPPOSED MOTION FOR CLARIFICATION ON ORDER
       GRANTING MOTION FOR TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTOIN

       Plaintiff ACA International hereby respectfully moves for the Court to clarify that its

Memorandum and Order on Plaintiff’s Motion for a Temporary Restraining Order and

Preliminary Injunction (Docket Entry No. 28, hereinafter “Order”) entered a preliminary

injunction, rather than a temporary restraining order.

       The reason for this request is that ACA’s motion requested the entry of a temporary

restraining order and preliminary injunction (see Order at 1); the Court’s Order stated that it

“enter[ed] a temporary restraining order enjoining the Attorney General from enforcing. . . the

entirety of 940 CMR 35.04[.]” (Order at 28-29.) The Court’s Order also stated that it was

“enjoin[ing] the Attorney General from enforcing 940 CMR 35.03 in so far as it bars the defined

debt collectors from bringing enforcement actions in the state and federal courts of

Massachusetts.” (Order at 29.) Although Plaintiff interprets the Court’s Order to have entered a

preliminary injunction, and although the Order was not expressly limited to a 14-day duration as

described in Federal Rule of Civil Procedure 65(b)(2), at least one commentator has construed
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the Order to only be only a temporary restraining order of a limited duration unless extended.

See https://www.stateaginsights.com/2020/05/11/maura-healeys-covid-19-debt-collection-ban-

struck-down/ (accessed May 14, 2020). In order to avoid the potential for confusion and

improper reliance or decision-making by creditors, debt collectors, consumers, and the general

public, Plaintiff requests that the Court issue a clarification that its Order entered a preliminary

injunction, rather than a temporary restraining order.



       The Defendant, Maura Healey, in her Official Capacity as Massachusetts Attorney

General, does not oppose the relief requested by this motion.

Dated: May 20, 2020.

                                             Respectfully submitted,

                                             ACA INTERNATIONAL

                                             By its attorneys,

                                             /s/ David M. Bizar
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                   CERTIFICATE OF CONFERENCE WITH RULE 7.1

       I hereby certify in accordance with Local Civil Rule 7.1 that on May 19 and 20, 2020, I
conferred with counsel for Defendant and attempted in good faith to resolve or narrow the issue
presented in this motion, and that counsel for Defendant has stated that Defendant does not
oppose the relief requested by the motion.

                                             /s/ David M. Bizar
                                             David M. Bizar

                                CERTIFICATE OF SERVICE

        I certify this document has been filed electronically and is available for viewing and
downloading from the ECF system. I further certify this document will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on May 20, 2020.


                                             /s/ David M. Bizar
                                             David M. Bizar




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